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                           UNITED STATES BANKRUPTCY COURT
                                      DISTRICT 1


In re:                                                      Case No. 14-06937-BKT
         LUIS MIGUEL ROBLES BERRIOS

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        ALEJANDRO OLIVERAS RIVERA, chapter 13 trustee, submits the following Final
Report and Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The
trustee declares as follows:

         1) The case was filed on 08/25/2014.

         2) The plan was confirmed on 11/07/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 08/27/2019.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 62.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $26,243.88.

         10) Amount of unsecured claims discharged without payment: $17,223.63.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor             $26,600.00
       Less amount refunded to debtor                            $0.00

NET RECEIPTS:                                                                                  $26,600.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $2,935.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                     $2,019.69
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,954.69

Attorney fees paid and disclosed by debtor:                 $65.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim        Principal       Int.
Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
BAXTER CREDIT UNION            Unsecured      5,448.00           0.00         5,505.47        843.05         0.00
BAXTER CREDIT UNION            Unsecured         108.00          0.00           214.00          32.78        0.00
BAXTER CREDIT UNION            Unsecured      4,028.00           0.00         4,121.93        631.21         0.00
BAXTER CREDIT UNION            Secured              NA           0.00       13,377.40      13,377.40    1,253.05
DTOP                           Unsecured         730.00           NA            580.00          88.82        0.00
EASTERN AMERICA INSURANCE CO   Priority            0.00           NA            920.00        920.00         0.00
EMPRESAS BERRIOS INC           Secured        1,875.00           0.00         1,517.03      1,517.03         0.00
LOANCARE LLC                   Secured        1,500.00            NA          1,463.41      1,463.41         0.00
LOANCARE LLC                   Secured      119,823.00            NA       120,495.18            0.00        0.00
PRA RECEIVABLES MANAGEMENT L   Unsecured      5,499.00            NA          5,499.67        842.20         0.00
QUANTUM3 GROUP LLC             Unsecured      3,605.00           0.00         3,688.76        564.88         0.00
SYNCHRONY BANK                 Unsecured         728.00           NA            728.22        111.48         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                 $1,463.41          $1,463.41             $0.00
       Debt Secured by Vehicle                           $13,377.40         $13,377.40         $1,253.05
       All Other Secured                                $122,012.21          $1,517.03             $0.00
 TOTAL SECURED:                                         $136,853.02         $16,357.84         $1,253.05

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $21,258.05          $4,034.42              $0.00


Disbursements:

         Expenses of Administration                             $4,954.69
         Disbursements to Creditors                            $21,645.31

TOTAL DISBURSEMENTS :                                                                      $26,600.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/16/2019                             By:/s/ ALEJANDRO OLIVERAS RIVERA
                                                                Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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14-06937-BKT                                             CERTIFICATE OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was mailed by first class mail
or electronically sent to the parties listed below:

LUIS MIGUEL ROBLES BERRIOS
URB CITY PARADISE
67 CALLE CUPEY
BARCELONETA, PR 00617-2751

BAXTER CREDIT UNION
PO BOX 8133
VERNON HILL, IL 60061

QUANTUM3 GROUP LLC
MOMA FUNDING LLC
PO BOX 788
KIRKLAND, WA 98083-0788

COOP A/C MANATI
PO BOX 30562
MANATI, PR 00674-8516

DTOP
PO BOX 41269
SAN JUAN, PR 00940-1269

EMPRESAS BERRIOS INC
PO BOX 674
CIDRA, PR 00739-0674

FREDDY N CORTES
HC 04 BOX 16071
MOCA, PR 00676

SYNCHRONY BANK
C/O RECOVERY MANAGEMENT SYSTEMS
CORP
25 SE 2ND AVE STE 1120
MIAMI, FL 33131-1605

THD/CBNA
CITICORP CREDIT
SERVICES/ATTN:CENTRALIZE
PO BOX 20507
KANSAS CITY, MO 64195

EASTERN AMERICA INSURANCE CO
PO BOX 9023862
SAN JUAN, PR 00902-3862




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BAXTER CREDIT UNION
PO BOX 8133
VERNON HILLS, IL 60061-8133

LAKEVIEW LOAN SERVICING LLC
MILLENNIUM PARTNERS
JULIANA RODRIGUEZ ESQ
21500 BISCANYE BLVD SUITE 600
AVENTURA, FL 33180

LOANCARE LLC
3637 SENTARA WAY
VIRGINIA BEACH, VA 23452

PRA RECEIVABLES MANAGEMENT LLC
AS AGENT PORTFOLIO RECOVERY
ASSOCIATES
PO BOX 12914
NORFOLK, VA 23541

PRA RECEIVABLES MANAGEMENT LLC
AS AGENT PORTFOLIO RECOVERY
ASSOCIATES
PO BOX 41067
NORFOLK, VA 23541

LAKEVIEW LOAN SERVICING
MILLENNIUM PARTNERS
MARISOL MORALES ABREU ESQ
100 PASEO DE COLON SUITE 9023548
OLD SAN JUAN, PR 00901

LAKEVIEW LOAN SERVICING LLC
QUINTAIROS-PRIETO-WOOD AND BOYER PA
RYAN MEADE ESQ
9300 SOUTH DADELAND BLVE
MIAMI, FL 33156

                                      /S/Luis R Gomez
DATED: October 16, 2019               OFFICE OF THE CHAPTER 13 TRUSTEE




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